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 2   22287 Mulholland Hwy., # 318
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 3   Voice & Fax: (888) 822-4340
     Email: Lew@Landaunet.com
 4
     Attorney for Debtor and
 5   Debtor in Possession

 6
                               UNITED STATES BANKRUPTCY COURT
 7
                               CENTRAL DISTRICT OF CALIFORNIA
 8
                                      LOS ANGELES DIVISION
 9

10
     In re                                       Case No.: 2:17-bk-22432 WB
11                                               Chapter 11
     Point.360, a California corporation,
12   dba DVDs on the Run, Inc.                   SUPPLEMENTAL DECLARATION OF HAIG
     dba Digital Film Labs                       S. BAGERDJIAN IN SUPPORT OF MOTION
13   dba International Video Conversions, Inc.   FOR ATTORNEY’S FEES AND COSTS
     dba Modern VideoFilm
14   dba Movie Q
     dba Visual Sound Closed Captioning
15   Services
     dba Eden FX
16                           Debtor.             Date:     February 1, 2018
                                                 Time:     10:00 a.m.
17                                               Place:    Courtroom 1375; Judge Brand
     Debtor’s EIN: XX-XXXXXXX                              U.S. Bankruptcy Court
18   Address: 2701 Media Center Drive                      255 E. Temple Street, 13th Floor
              Los Angeles, CA 90065                        Los Angeles, CA 90012
19

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 1                            DECLARATION OF HAIG S. BAGERDJIAN

 2
     I, Haig S. Bagerdjian, do hereby declare:
 3
            1.      I am the president of Point.360, a California corporation (“Point.360” or “Debtor”)
 4
     and I have personal knowledge of the facts set forth herein. I offer this declaration in further
 5
     support of the Debtor’s motion [ECF # 111] (“Motion”) for prevailing party attorney’s fees
 6
     against Medley Capital Corporation and Medley Opportunity Fund II LP (collectively “Medley”).
 7
            2.      The Debtor’s business relationship with Medley arose in connection with the
 8
     Debtor’s entry into the Sale Agreement Pursuant to Article 9 of the Uniform Commercial Code
 9
     (“Purchase Agreement”) under which the Debtor acquired the assets of Modern VideoFilm, Inc.
10
     (“MVF”). A true and correct copy of the Purchase Agreement is attached at bates pages 45-105 of
11
     the Motion. As set forth in the Purchase Agreement, the Debtor acquired the “Purchased Assets”
12
     of MVF [¶ 1.1] and in exchange issued stock and warrants to the “Lenders” [¶ 1.3].
13
            3.      Pursuant to the Purchase Agreement, Medley Capital Corporation (“MCC”) was
14
     the “Seller” in MCC’s capacity as administrative agent and collateral agent for “Lenders” that
15
     included Medley Opportunity Fund II, LP.
16
            4.      The Debtor was first alerted to a potential MVF transaction when reading the
17
     October 22, 2014 Deadline Hollywood article attached hereto as Exhibit 1. Thereafter, Alan Steel
18
     (“Steel”), Debtor’s CFO, contacted Scott Avila (“Avila”) (identified in the Deadline Hollywood
19
     article as a principal of Deloitte CRG) to inquire whether there was a business opportunity with
20
     MVF. Avila stated that he was just beginning the project and needed more time to evaluate how
21
     MVF and Point.360 might work together.
22
            5.      Thereafter, Kevin McFarlane (“McFarlane”), Managing Director of Deloitte
23
     Corporate Finance LLC, contacted the Debtor to set up a meeting to discuss MVF. In December
24
     2014, I attended an introductory meeting with McFarlane at Point.360’s headquarters at 2701
25
     Media Center Drive, Los Angeles, CA 90065 to discuss the MVF opportunity.
26

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 1            6.    On March 19, 2015 McFarlane provided a first draft of a deal term sheet to me, a

 2   true and correct copy of which is attached as Exhibit 2, along with the cover email I received from

 3   McFarlane.

 4            7.    On March 26, 2015 a meeting was held at Deloitte’s Los Angeles suite at 555 West

 5   5th Street, Suite 2700, Los Angeles, California 90013 to discuss the proposed MVF term sheet and

 6   transaction. The meeting was attended by McFarlane, Avila (of Deloitte and CEO of MVF),

 7   Cooper Crouse (director of Deloitte CRG and president of MVF), James Feeley III (senior

 8   managing director of Medley Capital Corporation) (“Feeley”), Richard Craybas (principal of

 9   Medley Capital Corporation) (“Craybas”), Preston Massey of Congruent Credit Opportunities

10   Fund II, LP (one of the “Lenders”), Steel and me, along with several other Deloitte staff.

11            8.    Between the March 26, 2015 meeting and April 29, 2016 there were multiple

12   conference calls with these and other related participants to discuss the MVF deal.

13            9.    On April 29, 2015 a meeting regarding sale terms was held at Medley’s New York

14   suite at 375 Park Avenue, 33rd Floor, New York, New York, 10152. I attended this meeting along

15   with Steel, Avila, Feeley, Craybas and Dale Hersey of Medley.

16            10.   In May 2015, a dinner meeting was held at the Peninsula Hotel in Beverly Hills,

17   California to further negotiate the transaction. I attended this meeting along with Steel, Feeley and

18   Avila.

19            11.   Afterward, transactional documentation was circulated and negotiated primarily

20   among counsel for the parties. The Debtor as buyer was represented by TroyGould, PC in Los

21   Angeles and Medley as Seller was represented by Proskauer Rose LLP in Boston, Massachusetts.

22   The notice clause in the Purchase Agreement and Term Loan Agreement correctly identifies the

23   counsel for each party.

24            12.   The Purchase Agreement was executed by the parties and signatures were

25   exchanged in counterpart by counsel. I signed on behalf of the Debtor at TroyGould, PC’s Los

26   Angeles office.

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 1          13.     The closing condition of delivering the Purchased Assets occurred in Los Angeles.

 2   Per Purchase Agreement ¶ 5.4(a)(i), the Seller conveyed the Purchased Assets and the Debtor took

 3   immediate possession of the Purchased Assets all of which were physically located in Los

 4   Angeles, California.

 5          14.     The transaction closed on July 8, 2015.

 6          15.     Pursuant to Purchase Agreement ¶ 2.8, Deloitte was identified “as a finder, broker

 7   or other intermediary on behalf of Seller in connection with th[e] Agreement.” I believe that

 8   Deloitte acted as Medley’s agent in the MVF sale transaction, which included the financing

 9   Medley provided through the Medley Term Loan Agreement (“TLA”).

10          16.     The Medley TLA and the Purchase Agreement are integrated transactions. The

11   TLA was a seller covenant under ¶ 4.10 of the Purchase Agreement: “Term Loan. Upon the

12   Closing, Seller shall agree to provide Buyer a five-year, $6,000,000 term loan, pursuant to the

13   Term Loan Agreement (“Term Loan Agreement”)” (emphasis added). Similarly, closing the

14   Purchase Agreement was a closing loan condition per ¶ 5(c) of the TLA: “The transactions

15   contemplated under the Sale Agreement Pursuant to Article 9 of the Uniform Commercial Code,

16   of even date herewith, between the parties hereto (the “Sale Agreement”), shall have closed.”

17   (emphasis added). Thus, the TLA evidences seller financing that was integral to the Purchase

18   Agreement transaction. The Debtor would not have entered into the Purchase Agreement without

19   the TLA financing.

20          17.     The Debtor is a California corporation with its headquarters located since 2012 at

21   2701 Media Center Drive, Los Angeles, CA 90065. The Debtor has no business operations

22   outside of California, although Debtor uses the services of independent contractors located outside

23   California and sells its services to customer located outside California.

24          18.     A true and accurate schedule of interest payments made on the Medley TLA is

25   attached as Exhibit 3. Payments are made to U.S Bank in North Carolina. Since June, 2016

26   accrued interest has been and will be paid “in kind” and accrued under the TLA.

27          19.     Medley Capital Corporation and Medley Opportunity Fund II LP are both

28   organized under the laws of the State of Delaware.


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                            EXHIBIT 1


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    Modern VideoFilm Under New Management As
    Corporate Restructuring Veterans Step In
    By David Robb on Oct 22, 2014 2:13 pm




    Deloitte Corporate Restructuring Group, which specializes in reorganizing troubled
    companies, has taken over day-to-day operation of Modern VideoFilm. Scott Avila, a
    principal of Deloitte CRG, has been named CEO of the postproduction facility. He
    replaces Moshe Barkat, the company’s founder, who was ousted as CEO and President
    by the board of directors in September. Cooper Crouse, a director of Deloitte CRG, has
    been named President of Modern Video/Film.

                                                                       Avila and Crouse’s previous job for Deloitte
                                                                       CRG, a subsidiary of the giant professional
                                                                       services and accounting firm Deloitte Touche
                                                                       Tohmatsu Ltd, was to manage the affairs of the
                                                                       financially distressed Culver Studios before its
                                                                       sale to Hackman Capital Partners this
                                                                       year. Roxanna Sassanian, a former financial
                                                                       officer at the Culver Studios, has been named

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    Modern Video/Film’s CFO, replacing the ousted Hugh Miller.

    Asked about Deloitte CRG, Avila told Deadline: “I can’t comment on that. I’m an officer
    of Modern Video/Film. That’s what I can comment on.”

    Deloitte CRG’s website says that it is “a nationally recognized team of professionals
    specializing in providing in-depth advisory and interim management services to
    companies and their stakeholders” – the key word here being “interim.”

    Avila’s profile on the Deloitte CRG website notes that he is a “seasoned Modern
    VideoFilm restructuring professional” who “helps operationally and financially
    distressed organizations through out-of-court restructuring and Chapter 11
    reorganizations.”

    A spokesperson said Modern VideoFilm is “definitely not” filing for bankruptcy.

    Under its new management, the company said in a press release, “Modern VideoFilm
    will seek to broaden its ties to studio clients, independent producers and content
    distributors, and work more closely with them to implement new workflows, production
    technologies and modes of media distribution.”

    Avila said in a statement: “We want to partner with our clients to better meet their needs
    today and in the future,” “With the media landscape changing rapidly, we need to be a
    nimble, forward-thinking company. We are excited about our future.”

    Although the company’s top two officers have been replaced, several longtime executives
    remain onboard, including Bill Watt, President of Digital Media Services; Mark
    Smirnoff, President of Creative Services; and Jon Johnson, EVP Sales, who will all be
    taking on additional managerial and operational responsibilities.

    Modern VideoFilm, which has provided postproduction and distribution services to the
    film and TV industry for more than 33 years, employs more than 500 artists, engineers,
    producers, technicians, client representatives and support personnel at its facilities in
    Burbank, Glendale, Santa Monica and Arizona.

    The company has worked on high-profile film and TV shows including Avatar, Modern
    Family, Game Of Thrones, The Walking Dead, Sons Of Anarchy, House Of Cards,
    Falling Skies, How I Met Your Mother, The Grand Budapest Hotel, The Descendants,
    There Will Be Blood and Best Picture Oscar winner Slumdog Millionaire.



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                            EXHIBIT 2


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Deloitte Corporate Finance LLC
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Suite 2700
Los Angeles, CA 90013
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Tel: +1 213 553 1423
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www.investmentbanking.deloitte.com
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                                              Project [Montage]
                                        Draft Non-Binding Term Sheet
                                              March ____, 2015



           This Term Sheet sets forth the proposed terms of a possible acquisition transaction whereby [Point 360, a -
__________] corporation would (a) acquire certain assets of Modern VideoFilm, Inc. and its direct and indirect
subsidiaries (collectively, “MVF”) from [Medley Capital Corporation (“Medley”), in its capacity as collateral agent],
pursuant to Article 9 of the New York Uniform Commerical Code, and (b) assume certain contractual and other
liabilities of MVF. Collectively these events are referred to as the “Transaction”. This Term Sheet is not intended
by the parties to be binding now or at any point in time in the future. The parties acknowledge that this Term Sheet
does not set forth all of the material terms of the proposed Transaction and the parties must complete negotiations
on the points set forth in this Term Sheet as well as on points well beyond the scope of this Term Sheet.
Accordingly, any binding obligations of the parties with respect to the Transaction shall be evidenced only by
definitive agreements executed by the parties to the Transaction. This Term Sheet shall be deemed a settlement
communication subject to Rule 408 of the Federal Rules of Evidence.

1. Form of Transaction          •   An acquisition of specified business assets of MVF that constitute collateral of
                                    the Lenders (through Medley as collateral agent) pursuant to that certain
                                    Guaranty and Security Agreement dated as of September 25, 2012 and all
                                    corresponding assets and businesses owned and operated by MVF to the extent
                                    not encumbered by the Lenders’ liens . The Transaction would be effected by a
                                    private foreclosure sale by Medley pursuant to Article 9 of the UCC and, to the
                                    extent necessary, an asset sale of any unencumbered assets by MVF, in each
                                    case to [Point] (either directly or indirectly through a newly-formed, wholly-
                                    owned subsidiary of [Point] (“Newco”)).
                                •   Upon the consummation of the Transaction, [Point] would remain a U.S. public
                                    company.
2. Consideration;               •   In connection with the Transaction, [Point] would pay consideration to
   Trading Restrictions             consisting of cash [amount TBD] and fully registered common stock of [Point]
                                    [and options?]. Subject to the next bullet point, the shares of common stock
                                    would be freely tradable under the Securities and Exchange Commission rules.
                                •   The Lenders receiving [Point] stock in the Transaction will enter into
                                    agreements that restrict their ability to trade the shares on the open market for a
                                    period of [xxx] days from the closing. In addition, upon the termination of
                                    the trading restriction, in order to maintain the integrity of the [Point] trading
                                    market, [Lenders] would be permitted to sell in any calendar quarter no more
                                    than [xx[% of the total number of shares of [Point] originally issued to
                                    [Lenders].
                                •   MVF employees who are “insiders” receiving [Point] stock in the Transaction
                                    will be subject to [Point]’s insider trading policies and black out periods.
3. Offer Price                  Upon consummation of the Transaction, the [Lenders] shareholders [and
                                optionholders] would hold a total of [xx]% of the equity capitalization of [Point] on
                                a fully-diluted basis (measured using treasury stock method) and the [Point]
                                shareholders and optionholders would hold the remaining [xx]% of the equity
                                capitalization of [Point] on a fully diluted basis.     [Treatment of Options, as
                                necessary].

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4. Employee Options          Neither party will “cash out” any options in anticipation of, or as a result, of the
                             contemplated Transaction. It is expected that [Point]’s board will evaluate an
                             option package for the new management team after consummation of the
                             Transaction.
5. Registration              •      As part of the Transaction, [Point] common stock to be issued in the
                                    Transaction [shall be registered with the SEC] prior to closing.
6. Board Representation      •      Upon closing the Transaction, [Point] shall have a [xx]-member Board of
                                    Directors (the “Board”), as follows:
                                            [x] Board members selected by [Lenders], which shall include [insert
                                             names]
                                            [x] board members selected by [Point], which shall include [insert
                                             names]
                             •      At the time that [Lenders] or their affiliated companies no longer hold at least
                                    [10%] of the outstanding shares of [Point], [Lenders] would forfeit their right to
                                    appoint these [x] Board members.
                             •      [Need for independent board members?]. [not sure this is necessary but TBD]
                             •      This Board structure shall remain in place for a minimum of [24] months after
                                    the Closing date.
7. Management                Positions to be determined, but expect substantive leadership positions to be
                             mutually agreed by Lenders and [Point]
8. Headquarters              As a public company, the named principal place of business would be [TBD].
9. Representations and       •      Customary representations and warranties for a private foreclosure transaction
   Warranties                       of the size, scope and complexity contemplated. Operational representations
                                    and warranties (including [accounting and financial statements], undisclosed
                                    liabilities, litigation, intellectual property, etc.) shall survive for a period of [xx]
                                    months after closing. Certain other representations and warranties (including
                                    tax, environmental and employment/ERISA) would survive until the applicable
                                    statute of limitations has passed. Certain fundamental representations and
                                    warranties (due authority, due incorporation, capitalization, ownership) shall
                                    survive indefinitely.
                             •      A number of [Point] shares equal in value to US$xx,000,000 (approximately
                                    [5]% of each party’s implied value) will be placed in a third party escrow at
                                    closing and will be held in escrow for a period of [x] months. Such escrow
                                    account shall be used to satisfy potential claims under the representations and
                                    warranties. Any claims for fraud, accounting, and tax issues, as well as
                                    specifically negotiated items resulting from due diligence, will not be capped at
                                    this escrow amount.
10. Pre-Closing Covenants    •      During the period between the signing of the definitive agreements and the
                                    closing of the Transaction, each of MVF and [Point] shall continue to conduct
                                    their respective businesses in the ordinary course and will refrain from (except
                                    as otherwise agreed among [Point] and Lenders) taking certain actions,
                                    including the incurrence of additional debt, changing of the capital structure of
                                    either company, sale, lease or license of material assets, etc.
                             •      In addition, each party shall use their best efforts to take all actions necessary to
                                    ensure the Transaction is consummated as expeditiously as possible.

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11. Principal Conditions     The execution of the definitive agreement would occur only after satisfaction of the
    to Signing of            following, among other conditions:
    Definitive Agreements
                             •      satisfactory completion of due diligence;
                             •      satisfactory negotiation of definitive documentation; and
                             •      [Point] [MVF] and [Medley] board approvals


12. Principal Conditions     The closing of the Transaction would occur only after completion of the following,
    to Closing of            among other conditions:
    Transaction
                             •      approval of the Transaction by [Point] and [Lenders] shareholders;
                             •      no material adverse effect on MVF;
                             •      delivery of closing documentation, including secured party bill of sale


13. Termination Rights       •      The parties shall be entitled to terminate the definitive agreement under the
                                    following conditions:
                                    •   mutual agreement of the parties;
                                    •   the stockholders of [Point] fail to approve the Transaction;
                                    •   the Transaction is not consummated by [xx] months from execution of the
                                        definitive agreement (the “Outside Date”); and
                                    •   a material breach of the representations and warranties of the other party.


14. Governing Law            The Transaction will be governed by the laws of the United States, State of New
                             York. Venue for any disputes will be courts within the State of New York.
15. Timing                   [Lenders], [Point] and their respective legal and financial advisers are prepared to
                             invest the necessary resources to expeditiously complete due diligence and negotiate
                             all definitive agreements.




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                            EXHIBIT 3


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Point.360
Schedule of Cash Payments to Medley
Interest Expense Only



  Period       Amount        Date Paid     Check/Wire Transfer
    Jul-15       3,840.04     7/30/2015   Wire Transfer
   Aug-15        5,422.24     8/26/2015   Wire Transfer
   Sep-15        5,274.17     9/25/2015   Wire Transfer
   Oct-15        9,314.17    10/26/2015   Wire Transfer
   Nov-15        9,834.07    11/30/2015   Wire Transfer
   Dec-15       14,966.47    12/24/2015   Wire Transfer
   Jan-16       20,003.62     1/28/2016   Wire Transfer
   Feb-16       20,581.87     2/26/2016   Wire Transfer
   Mar-16       28,567.79     3/28/2016   Wire Transfer
   Apr-16       30,575.59     4/29/2016   Wire Transfer
   May-16       32,076.90     5/31/2016   Wire Transfer
   Jun-16       33,365.25     6/30/2016   Wire Transfer


Total Paid      213,822.18


Wiring Instructions:
Currency: USD
Instructions: Remit Payment
Beneficiary Name: U.S. Bank as Paying Agent for Medley Capital as Admin Agent
Beneficiary Address: 214 N. Tryon Street 26th Floor Charlotte, NC 28202
Primary Bank Name: U.S. Bank as Paying Agent for Medley Capital as Admin Agent
Primary ABA Number: 091000022
Account Name: Corporate Trust Agency Services
Account Number: 104790617633




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                                                                                               017
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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
    22287 Mulholland Hwy., # 318
    Calabasas, CA 91302
A true and correct copy of the foregoing document entitled (specify): __________________________________________
 SUPPLEMENTAL DECLARATION OF HAIG S. BAGERDJIAN IN SUPPORT OF MOTION FOR ATTORNEY’S FEES
________________________________________________________________________________________________
________________________________________________________________________________________________
 AND COSTS
________________________________________________________________________________________________
will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
_______________,
01/11/2018          I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:




                                                                                       ✔ Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) _______________,
              01/11/2018        I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.
Judge Brand, US Bankruptcy Court, 255 E Temple Street, Suite 1382, Los Angeles, CA 90012




                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) _______________, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.




                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

01/11/2018         Lewis R. Landau                                                             /s/ Lewis R. Landau
 Date                        Printed Name                                                       Signature



            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
          Case 2:17-bk-22432-WB              Doc 118 Filed 01/11/18 Entered 01/11/18 22:51:13                                            Desc
 In re:   Point.360, a California corporation Main Document   Page 19 of 19
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                                                                                   Debtor(s).
                                                                                                   CASE NUMBER:      2:17-bk-22432 WB



ADDITIONAL SERVICE INFORMATION (if needed):
NEF Service List (category I):

William S Brody on behalf of Creditor Austin Financial Services, Inc.
wbrody@buchalter.com, dbodkin@buchalter.com;IFS_filing@buchalter.com

Sara Chenetz on behalf of Interested Party Sara L. Chenetz
schenetz@perkinscoie.com, dlax@perkinscoie.com;cmallahi@perkinscoie.com

Peter A Davidson on behalf of Interested Party Courtesy NEF
pdavidson@ecjlaw.com, lpekrul@ecjlaw.com

Brian T Harvey on behalf of Creditor Austin Financial Services, Inc.
bharvey@buchalter.com, IFS_filing@buchalter.com;dbodkin@buchalter.com

Lewis R Landau on behalf of Debtor Point.360, a California Corporation
Lew@Landaunet.com

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Justin E Rawlins on behalf of Creditor Medley Opportunity Fund II LP
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ustpregion16.la.ecf@usdoj.gov

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lwilliams@goodwin.com, bankruptcy@goodwin.com




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.
January 2009                                                                                                                       F 9013-3.1
